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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


BRUCE MEYERS, KALLIE
ROESNER-MEYERS and
EUGENIA CALOCASSIDES,

           Plaintiffs,
                                                       Case No. 17-cv-10623
v.
                                                       HON. DENISE PAGE HOOD
VILLAGE OF OXFORD et al.,

     Defendants.
_______________________________/


                   ORDER REOPENING CASE ON REMAND
               and GRANTING IN PART AND DENYING IN PART
           MOTION FOR AN ORDER COMMANDING AN ANSWER AND
                 ISSUANCE OF CASE MANAGEMENT ORDER

           On June 27, 2018, the Sixth Circuit Court of Appeals issued an Opinion

remanding the matter for further proceedings. (Doc. No. 27) The Mandate was issued

on August 20, 2018.1 Plaintiffs filed a Motion for an Order Commanding an Answer

and Issuance of Case Management Order. (Doc. No. 29)

           Accordingly,

           IT IS ORDERED that this action is REOPENED.

           IT IS FURTHER ORDERED that Defendants file an Answer to the Amended

     1
         The Mandate was not entered in the case docket.
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Complaint within 21 days from the entry of this Order.

      IT IS FURTHER ORDERED that a Scheduling Conference is set for November

13, 2018, 11:00 a.m.

      IT IS FURTHER ORDERED that Plaintiffs’ Motion for an Order Commanding

an Answer and Issuance of Case Management Order (Doc. No. 29, 9/18/18) is

GRANTED IN PART and DENIED IN PART as set forth above.


                                     s/Denise Page Hood
                                     DENISE PAGE HOOD
                                     CHIEF UNITED STATES DISTRICT JUDGE

DATED: October 11, 2018



I hereby certify that a copy of the foregoing document was served upon counsel of
record on October 11, 2018, by electronic and/or ordinary mail.

                                     S/LaShawn R. Saulsberry
                                     Case Manager




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